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AO 442 (Rev, 01/09) Arrest Warrant

 

UNITED STATES DISTRICT COURT

forthe -
DISTRICT OF COLUMBIA
United States of America Case: 1:23-cr-00117
“ Assigned to: Judge Contreras, Rudolph
) Assign Date: 4/6/2023
CER ees ) Description: INDICTMENT (B)
Defendant
ARREST WARRANT
To: Any authorized law enforcement officer

YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary delay

(name of person to be arrested) GERMAINE L. GRAHAM - = _?
who is accused of an offense or violation based on the following document filed with the court:

® Indictment O Superséding Indictment O information © Superseding Information O Complaint
O Probation Violation Petition Supervised Release Violation Petition Violation Notice C) Order of the Court

This offense is briefly described as follows:

VIOLATIONS:
18 U.S.C. § 1343 (Wire Fraud);18 U.S.C. § 1028A (Aggravated Identity Theft)

FORFEITURE ALLEGATION:
18 U.S.C. § 981(a)(1)(C), 28 U.S.C.§ 2461(c); and 21 U.S.C. § 853(p)

f Digitally signed by
Robin M. Robin M. Meriweather

. Date: 2023.04.06
Meriweather M552 0900

issuing officer's signature

Date: 04/06/2023

City and state: | Washington, D.C. Robin M. Meriweather, United States Magistrate Judge

Printed name and title

 

Return

 

 

This warrant was ree ON (date) 4} 19 HH ed 3 , and the person was arrested on (dare) i tal 20.3
at (city and state) 0c

Date: Where hog EL (1044
Arresting offider's signature
Wejo Dus M name and title

 

 

 

 
